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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                       DECLARATION OF XAVIER DOE

      I, Xavier Doe, declare the following under penalties of perjury:

      1.    I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am a member of the American Foreign Service Association.

      3.    Foreign Service Officer, currently serving overseas in a USAID mission.

      4.    There are multiple procedures and policies in place to ensure an orderly

demobilization of USAID staff, close-out of programs, disposition of equipment and

severing of local staff employment contracts. However, none of these have been

followed in recent weeks, creating confusion and anxiety among not just the USAID

staff; but also our implementing partners, most of whom are American organizations

led by Americans.

      5.    The USAID shutdown has harmed me in the following ways – I am still

awaiting payment of travel vouchers for reimbursement of travel expenses incurred
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and I have not received my COLA payment for January. Payment for my government

travel card is due on February 19, 2025 and I am personally liable for the payment,

whether or not I am reimbursed. I do not have any information regarding where I am

expected to return to (Washington, DC or home of record) should the repatriation

plan continue nor what my employment status will be. As the sole financial provider

for my family, the anxiety for my family is enormous as we just do not have any idea

where we will be financially once repatriated back to the US, which is counter to

existing procedures in the Foreign Assistance Manual and Automated Directive

System, both of which govern USAID operations.

      6.     On February 9, 2025, USAID notified contracting and agreement

officers to immediately terminate 146 contracts and cooperative agreements (grants).

The notification, sent by Jami Roberts, Chief Acquisition and Procurement Executive,

noted that the list of awards slated for termination were “reviewed and approved by

Secretary Rubio.”

      7.     On February 10, 2025, another tranche of 92 media contracts and

cooperative agreements were identified for termination. Shortly after that email was

sent, a third tranche of 96 contracts were slated for termination. All emails noted

that these lists had been reviewed and approved by Secretary Rubio.

      8.     The unclassified State Department cable (25STATE6828) noted that

“Within thirty (30) days of the issuance of the review standards in paragraph 4, every

Bureau, agency office and entity providing any type of foreign assistance shall

produce to F for review a list of all active, pending, or proposed grants, subcontracts,



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contracts, or subcontracts, and provide a clear and concise statement explaining if

and how the current or proposed use of obligated funds advances President Trump’s

policy.” However, to date, the review standards have not been issued, nor have

USAID staff had an opportunity to provide the clear and concise statements

regarding the status of our programs and whether or not they fit under the current

administration’s policies.

      9.     Further, despite the notation that all agencies providing any type of

foreign assistance were subject to the aforementioned cable guidance, only USAID is

being targeted for limitations on reimbursement of travel expenditures, holds on

payment of vouchers to implementing partners and closure of our programs. If this

indeed was a comprehensive review, these standards should be applied equally to all

agencies. Additionally, while reimbursement of travel expenditures were expressly

waived in the 25STATE6828, these expenses remain unreimbursed.

             10.    I declare under penalty of perjury that the foregoing is true and

      correct.

      Executed on February 11, 2025.



                                              /s/ Xavier Doe
                                              Xavier Doe




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